










Opinion issued August 31, 2009











In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00430-CV




DONNIE MYRLE MCGEHEE,  Appellant

V.

DEBORAH JEAN MCGEHEE,  Appellee




On Appeal from the 308th District Court
Harris County, Texas
Trial Court Cause No. 2007-55234




MEMORANDUM OPINIONAppellant has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§
51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a) (Vernon 2005),
101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellant Donnie Myrle McGehee did not adequately respond. 
See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.
PER CURIAM
Panel consists of Justices Keyes, Hanks, and Higley.


